Case 23-41037-can7                                           Doc 22-5 Filed 08/15/23 Entered 08/15/23 11:46:41                                                             Desc
                                                                    Exhibit 5 Page 1 of 1


             C as e 23-4 1037-can7                              Doc 10           Filed 07/3 1/ 23          Ente red 07/3 1/ 23 1 6 :2 1 :4 8                   D e s c M a in
                                                                                D o c u m e nt         Page 1 of 1
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     'Pill'in this .information to identify .ypiir case:
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     DBblor 2
     (Spouse, if filing) m i Name                            M kj d td N am e           U st N am e
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     Unite d Stales Bankniptcy Court for (he: West er n Di st r i c t o f Mi s sour i                  □                                  WEST DISTRICT
                                                                                                                                           OF MISSOURI
     Case number
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 Fill out this form only If:
 a
        you filed InlUal Statement About an Eviction Judgment Against You (Official Form 101A); and
 a      you served a copy of Form 101A on your landlord; a n d
 p      y ou w ant t o st ay in y ou r rented res idence fo r m ore than 30 days after you file your Vol untary Petition
        for Individuals Filing for Bankrup tcy (Official Form 101).

 File this form within 30 days after you file your Voluntary Petition for Individuals Filing for Bankrup tcy (Offl eial Form 101).
 Also serve a copy on your landlord w ithin that same ti me p eri od.




                Cert ificat ion About Applicable Law and Payment of Eviction J u d s m e n t


         I certify under penalty of perjury that [Check all that apply):

         0 Underthestateorother nonbankrupicylawthat appliesto the Judgment for possession {eviction
                Judgment), I have the right to stay In my residence by paying my landlord the entire delinquent amount.

         0         Within 30 days after I fi led my Voluntary Petition for Individuals Filing for Bankwptcy (Offi cial
                   Form 101), I have paid my landlord the entire amount I owe as stated in the judgment for possession
                   {eviction Judgment).



                                                         ‘■A h
                        Sl^ ture of Debto r 1                                                                   Signature of Debto r 2


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                                 MM'/     DD       V Y YYY                                                               MM /    DD    / YYYY




     You must serve your landlord with a copy of t his form.

     Check the Bankruptcy Rules (wv/w.uscourts.oov/rulesandoolicies/niles.asoxi and the court’s local website (go to
     http://vvww.uscourls.qQv/Court Locator.asox to fi nd your court 's website) for any specifi c requirements that you might have to
     m e e t to s e rv e Ih is s ta te m e n t .

O ffi cia l F o r m 10 1B
                                                             Statement About Payment of an Eviction Judgment Against Y o u
